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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                                Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                    Case No. 24-90533 (ARP)


                                        Debtors.                      (Jointly Administered)


                         STIPULATION AND AGREED ORDER
                   REGARDING THE SHANNON PLAINTIFFS’ OBJECTION

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

various plaintiffs represented by Shannon & Lee LLP identified on Exhibit A attached hereto

(the “Movants,” and together with the Debtors, the “Parties”) hereby enter into this stipulation and

agreed order (this “Stipulation and Agreed Order”) as follows:

         WHEREAS, the Movants brought suit against certain of the Debtors, Non-Debtor

Defendants (as defined by the Amended Interim Order Enforcing the Automatic Stay

[Docket No. 69] (the “Stay Extension Order”)), and other defendants (together with the Debtors

and Non-Debtor Defendants, collectively, the “Defendants”) in the cases listed in Exhibit A

attached hereto (each, a “Lawsuit,” and collectively, the “Lawsuits”);

         WHEREAS, in the Lawsuits, the Movants assert certain claims and causes of action against

the Defendants related to, among other things, alleged violations of constitutional rights and

personal injury claims;




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     A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
     chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.



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       WHEREAS, the Debtors dispute any and all liability with regard to all of the claims or

causes of action asserted by the Movants;

       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Stay Extension

Order staying all Lawsuits (as defined in the Stay Extension Motion) in their entirety, including

claims against the Non-Debtor Defendants, on an interim basis;

       WHEREAS, on December 2, 2024, the Movants filed the Response of Certain Claimants

to Debtors’ Emergency Motion for Entry of Interim and Final Orders to Enforce the Automatic

Stay or in the Alternative Extend the Automatic Stay to Non-Debtor Defendants [Docket No. 245]

(the “Stay Extension Objection”) objecting to the relief sought in the Stay Extension Motion;

       WHEREAS, on January 14, 2025, the Court entered the Stipulated and Agreed Amended

Order (I) Enforcing the Automatic Stay on a Final Basis with Respect to Certain Actions,

(II) Enforcing the Automatic Stay on an Interim Basis with Respect to Certain Actions,

(III) Extending the Automatic Stay on an Interim Basis to Certain Actions Against Non-Debtors,

(IV) Setting a Final Hearing for the Interim Relief Granted Herein, and (V) Granting Related

Relief [Docket No. 962] (the “Second Stay Extension Order”).




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       NOW, THEREFORE, IT IS STIPULATED AND AGREED:

       1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code and extended to Non-Debtor Defendants in the Lawsuit pursuant to the Second

Stay Extension Order does not extend to claims or causes of action against certain non-debtors in

the Lawsuit as listed in Exhibit A attached hereto.

       2.      Except as set forth herein, the Second Stay Extension Order otherwise remains a

fully enforceable order and the automatic stay’s application to the Debtor and all other Non-Debtor

Defendants (as defined in the Stay Extension Order) in the Lawsuits, including all Non-Debtor

Defendants listed in Exhibit A attached hereto, shall remain in full force and effect.

       3.      Entry of this Stipulation and Agreed Order shall resolve the Stay Extension

Objection as to the Movants, and any other relief sought in the Stay Extension Objection by the

Movants shall be deemed denied and any other objections by the Movants shall be deemed

overruled.

       4.      For the avoidance of doubt, the Movants do not include the plaintiffs in Brazelton

v. Wellpath, LLC et al., Case No. 1:22-cv-01324-SEM-KLM (C.D. Ill.); Capaci v. Dasraj et al.,

Case No. 7:24-cv-04626-PMH (S.D.N.Y.); Magana v. County of Alameda et al., Case No. 3:24-

cv-04716-JD (N.D. Cal.), McCullough v. Clinton County et al., Case No. 4:23-cv-00171-CCC

(M.D. Penn.) (collectively, the “Remaining Plaintiffs”).       The objections of the Remaining

Plaintiffs have been continued to the hearing currently set for February 18, 2025, at 2:00 p.m.

(prevailing Central Time). The Remaining Plaintiffs’ Lawsuits remain subject to the Second Stay

Extension Order until otherwise ordered by this Court.




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       5.     This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: __________, 2025
Houston, Texas


                                            UNITED STATES BANKRUPTCY JUDGE




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STIPULATED AND AGREED TO THIS 31ST DAY OF JANUARY, 2025:

 By: /s/ Marcus A. Helt
 Marcus A. Helt (Texas Bar #24052187)
 MCDERMOTT WILL & EMERY LLP
 2501 N. Harwood Street, Suite 1900
 Dallas, Texas 75201-1664
 Telephone:     (214) 295-8000
 Facsimile:     (972) 232-3098
 Email:         mhelt@mwe.com

 -and-

 Felicia Gerber Perlman (admitted pro hac vice)
 Bradley Thomas Giordano (admitted pro hac vice)
 Jake Jumbeck (admitted pro hac vice)
 Carole Wurzelbacher (admitted pro hac vice)
 Carmen Dingman (admitted pro hac vice)
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                bgiordano@mwe.com
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 -and-

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 Counsel to the Debtors and Debtors in Possession




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By: /s/ R. J. Shannon

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Counsel to Movants
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                                EXHIBIT A




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                                                 Defendants                                              Non-Debtor Defendants
                                                                                                                                   Other Defendants Stay is
       Case Name & No.                      (Including Previously            Automatic Stay Applies      Second Stay Extension
                                                                                                                                        Modified For
                                                  Dismissed)                                               Order Applies To
A.G. v. Tulare County, et al., 1:23-   1.   County of Tulare                1.   Wellpath, LLC          1.   Andrew P. Ho, MD      1.   County of Tulare
cv-00500-JLT-SKO (E.D. Cal.).          2.   Jose Sanchez Perez                                          2.   Alla Liberstein, MD   2.   Jose Sanchez Perez
                                            (Correctional Deputy Trainee)                                                               (Correctional Deputy
                                       3.   James Dillon (Correctional                                                                  Trainee)
                                            Deputy)                                                                                3.   James Dillon
                                       4.   Rodrigo Deochoa (Correctional                                                               (Correctional Deputy)
                                            Deputy)                                                                                4.   Rodrigo Deochoa
                                       5.   Andrew P. Ho, MD                                                                            (Correctional Deputy)
                                       6.   Alla Liberstein, MD
                                       7.   Does 7-50
Alameda County Male Prisoners, et      1.   Alameda County Sheriff’s        1.   Wellpath Management,                              1.   Alameda County Sheriff’s
al. v. Alameda County Sheriff’s             Office                               Inc.                                                   Office
Office, et al., Case No. 3:19-cv-      2.   Alameda County                                                                         2.   Aramark Correctional
07423-JSC (N.D. Cal.).                 3.   Deputy Joe                                                                                  Services, LLC
                                       4.   Deputy Ignont (Sp)                                                                     3.   Alameda County
                                       5.   John And Jane Roes, Nos. 1 –                                                           4.   Deputy Joe
                                            25                                                                                     5.   Deputy Ignont (Sp)
                                       6.   Well-Path Management, Inc.
                                       7.   Aramark Correctional
                                            Services, LLC




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                                                Defendants                                            Non-Debtor Defendants
                                                                                                                                 Other Defendants Stay is
       Case Name & No.                     (Including Previously            Automatic Stay Applies    Second Stay Extension
                                                                                                                                      Modified For
                                                 Dismissed)                                             Order Applies To
Balliet v. Luzerne County et al.,     1. Luzerne County                    1.   Wellpath, LLC        1.   Holly Green           1.   Luzerne County
Case No. 3:22-cv-02032 (M.D.          2. Wellpath, LLC                                               2.   Nelson Iannuzzi       2.   Chris Gale
Penn.).                               3. Chris Gale                                                  3.   Jade Talarico         3.   T.J. Brown
                                      4. Holly Green                                                                            4.   William Wilk
                                      5. Nelson Iannuzzi                                                                        5.   LPN Biane Emmett
                                      6. Jade Talarico                                                                          6.   C.O. Robert Calvey
                                      7. T.J. Brown                                                                             7.   LT. Kate Romiski
                                      8. William Wilk
                                      9. LPN Biane Emmett
                                      10. C.O. Robert Calvey
                                      11. LT. Kate Romiski
                                      12. C.O. William Wilk
                                      13. Cheri Steever
                                      14. Carleen Kendig
                                      15. Donald Fuller
                                      16. Nancy Soers
                                      17. Shana Feichter
Beckner v. County of Santa Cruz, et   1.  County of Santa Cruz             1.   Wellpath, LLC        1.   California Forensic   1.   County of Santa Cruz
al., Case No. 5:23-cv-05032-BLF       2.  California Forensic Medical                                     Medical Group         2.   Santa Cruz Sheriff’s
(N.D. Cal.).                              Group                                                      2.   Sarah Hewitt               Correction Officer Joshua
                                      3. Wellpath, Inc.                                                                              Johnson
                                      4. Wellpath, LLC                                                                          3.   Santa Cruz Sheriff’s
                                                                                                                                     Correction Officer
                                      5. Wellpath, Management
                                                                                                                                     Buchanon
                                      6. James Hart
                                                                                                                                4.   James Hart
                                      7. Sarah Hewitt
                                      8. Santa Cruz Sheriff’s Correction
                                          Officer Joshua Johnson
                                      9. Santa Cruz Sheriff’s Correction
                                          Officer Buchanon
                                      10. Does 5-20




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                                                   Defendants                                          Non-Debtor Defendants
                                                                                                                               Other Defendants Stay is
       Case Name & No.                        (Including Previously      Automatic Stay Applies        Second Stay Extension
                                                                                                                                    Modified For
                                                    Dismissed)                                           Order Applies To
Bush et al. v. Luzerne County et al.,    1.   Luzerne County            1.   Wellpath, LLC        1.    Elizabeth Anselm       1.   Luzerne County
Case No. 23-cv-01152 (M.D.               2.   Mark Rockovich                                                                   2.   Mark Rockovich
Penn.).                                  3.   Wellpath, LLC                                                                    3.   Christopher Gale
                                         4.   Christopher Gale                                                                 4.   Joseph Delany
                                         5.   Elizabeth Anselm                                                                 5.   Melissa Yankovich
                                         6.   Joseph Delany                                                                    6.   Harry Reese
                                         7.   Melissa Yankovich                                                                7.   Heather Wilson
                                         8.   Harry Reese
                                         9.   Heather Wilson
C.R.A. et al. v. Fresno County et        1.   Fresno County             1.   Wellpath, LLC                                     1    Fresno County
al., Case No. 2:23-00672 (E.D.           2.   Fresno County Sheriff’s                                                          2    Fresno County Sheriff’s
Cal.).                                        Department                                                                            Department
                                         3.   Wellpath LLC                                                                     3    Does 1-25
                                         4.   Does 1-25




                                                                                 3
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                                               Defendants                                     Non-Debtor Defendants
                                                                                                                          Other Defendants Stay is
       Case Name & No.                    (Including Previously     Automatic Stay Applies    Second Stay Extension
                                                                                                                               Modified For
                                                Dismissed)                                      Order Applies To
Curtis v. Lackawana County et al.,    1. Lackawanna County         1.   Wellpath, LLC        1.   Hassebuddin Ahmed, MD   1. Lackawanna County
Case No. 3:23-cv-02092-JFS (M.D.      2. Wellpath, LLC                                       2.   Nelson Iannuzzi         2. Rae Olivia
Penn.).                                                                                                                   3. C.O. Burda
                                      3. Haseebuddin Ahmed, M.D.                             3.   June Mahoney
                                                                                                                          4. C.O. Houman
                                      4. Nelson Iannuzzi                                     4.   Stephanie Wayman
                                                                                                                          5. C.O. Wharton
                                      5. Rae Olivia                                          5.   India Smith
                                                                                                                          6. C.O. Jonas
                                      6. June Mahoney                                        6.   Kimberly Peterson
                                                                                                                          7. C.O. Kelly
                                      7. Stephanie Wayman                                    7.   Alexandria Geisler
                                                                                                                          8. C.O. Kopa
                                      8. India Smith                                         8.   Angela Furman
                                                                                                                          9. C.O. Bloom
                                      9. Kimberly Peterson
                                                                                                                          10. C.O. Loven
                                      10. Alexandria Geisler
                                                                                                                          11. Sgt. Dranchak
                                      11. Angela Furman
                                                                                                                          12. Sgt. Mills.
                                      12. C.O. Burda
                                                                                                                          13. C.O. Burrier
                                      13. C.O. Houman
                                                                                                                          14. Sgt. Trichilo
                                      14. C.O. Wharton
                                                                                                                          15. C.O. Tavares
                                      15. C.O. Jonas
                                                                                                                          16. C.O. Wesley
                                      16. C.O. Kelly
                                                                                                                          17. C.O. Posluszny
                                      17. C.O. Kopa
                                                                                                                          18. C.O. Dixon
                                      18. C.O. Bloom
                                                                                                                          19. C.O. Moskwa
                                      19. C.O. Loven
                                                                                                                          20. C.O. Jackson
                                      20. Sgt. Dranchak
                                      21. Sgt. Mills.
                                      22. C.O. Burrier
                                      23. Sgt. Trichilo
                                      24. C.O. Tavares
                                      25. C.O. Wesley
                                      26. C.O. Posluszny
                                      27. C.O. Dixon
                                      28. C.O. Moskwa
                                      29. C.O. Jackson




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                                                  Defendants                                         Non-Debtor Defendants
                                                                                                                                   Other Defendants Stay is
       Case Name & No.                       (Including Previously       Automatic Stay Applies      Second Stay Extension
                                                                                                                                        Modified For
                                                   Dismissed)                                          Order Applies To
Desir v. Sheriff Gregory Tony et al.,    1. Sheriff Gregory Tony        1.   Wellpath, LLC          1.   Etude Petit-Homme Datus   1.   Sheriff Gregory Tony
Case No. 0:23-cv-60499 (S.D.             2. Ryan Daniel                 2.   Wellpath Management,   2.   Leon Tennant              2.   Ryan Daniel
Fla.).                                                                       Inc.                   3.   Veronica Edwards          3.   Angela McNeal
                                         3. Angela McNeal
                                                                                                                                   4.   Kimberly Green
                                         4. Kimberly Green                                                                         5.   Christopher Williams
                                         5. Christopher Williams                                                                   6.   Devon Parker
                                         6. Devon Parker                                                                           7.   Jeremiah Howard
                                         7. Jeremiah Howard                                                                        8.   Rio Flemming
                                         8. Wellpath LLC
                                         9. Wellpath Management, Inc.
                                         10. Etude Petit-Homme Datus
                                         11. Leon Tennant
                                         12. Veronica Edwards
                                         13. Rio Flemming




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                                                 Defendants                                           Non-Debtor Defendants
                                                                                                                                  Other Defendants Stay is
       Case Name & No.                      (Including Previously           Automatic Stay Applies    Second Stay Extension
                                                                                                                                       Modified For
                                                  Dismissed)                                            Order Applies To
Esparza v. Wellpath, LLC et al.,23-    1.  Wellpath, LLC                   1.   Wellpath, LLC        1. Larry Williamson         1.  Las Vegas Metropolitan
cv-02161-JCM-VCF (D. Nev.).            2.  Las Vegas Metropolitan Police                             2. Catherine Ryan               Police Department
                                           Department                                                3. Jessica Arabski          2. Kevin Mcmahill
                                       3. Kevin Mcmahill                                             4. Richard Medrano          3. Fred Haas
                                       4. Fred Haas                                                  5. Vivek Shah               4. Brian Fucile
                                       5. Brian Fucile                                               6. Cole Casey               5. Scott Zavsza
                                       6. Scott Zavsza                                               7. Kesha Poland             6. Leah Anderson
                                       7. Leah Anderson                                              8. Maria Hopkins            7. Alyssa Williams
                                       8. Alyssa Williams                                            9. Rachel Clark             8. Julian Abram
                                       9. Julian Abram                                               10. Kyle Martineau          9. Douglas Thrasher
                                       10. Douglas Thrasher                                          11. Earl Salviejo           10. Fernando Martinez Santos
                                       11. Larry Williamson                                          12. Ulyana Biloskurska          (Nominal)
                                       12. Catherine Ryan                                            13. Amy Kathryn Anapolsky
                                       13. Jessica Arabski
                                       14. Richard Medrano
                                       15. Vivek Shah
                                       16. Cole Casey
                                       17. Kesha Poland
                                       18. Maria Hopkins
                                       19. Rachel Clark
                                       20. Kyle Martineau
                                       21. Earl Salviejo
                                       22. Ulyana Biloskurska
                                       23. Amy Kathryn Anapolsky
                                       24. Does 1-10
                                       25. Fernando Martinez Santos
                                           (Nominal)




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                                                     Defendants                                             Non-Debtor Defendants
                                                                                                                                        Other Defendants Stay is
        Case Name & No.                         (Including Previously             Automatic Stay Applies    Second Stay Extension
                                                                                                                                             Modified For
                                                      Dismissed)                                              Order Applies To
Fahrni et al. v. Tulare County, et al.,    1.  County of Tulare                  1.   Wellpath, LLC        1.   Alla Liberstein, MD     1.   County of Tulare
1:23-cv-01265-KES-SAB (E.D.                2.  Adolfo Gallardo, Jr.                                        2.   Anthony Ceja, AMFT      2.   Adolfo Gallardo, Jr.
Cal.).                                                                                                                                  3.   Salvador Santillan
                                           3.  Salvador Santillan                                          3.   Sureshubaba Kurra, MD
                                                                                                                                        4.   Anyval Suarez
                                           4.  Anyval Suarez                                                                            5.   Precision Psychiatric
                                           5.  Wellpath, LLC                                                                                 Services, Inc.
                                           6.  Alla Liberstein, MD
                                           7.  Precision Psychiatric Services,
                                               Inc.
                                           8. Anthony Ceja, AMFT
                                           9. Sureshbabu Kurra, MD
                                           10. Does 6–50




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                                                 Defendants                                          Non-Debtor Defendants
                                                                                                                              Other Defendants Stay is
       Case Name & No.                      (Including Previously          Automatic Stay Applies    Second Stay Extension
                                                                                                                                   Modified For
                                                  Dismissed)                                           Order Applies To
Hirsch v. Will County, et al., Case    1. Will County                     1.   Wellpath, LLC        1. Penelope Johnson       1.  Will County
No. 19-CV-7398 (N.D. Ill.).            2. Sheriff Mike Kelley                                       2. Cindy Smith            2.  Sheriff Mike Kelley
                                       3. Officer Frederick Abdullah                                3. Guadalupe Zuniga       3.  Officer Frederick
                                       4. Officer Derek Coppes                                      4. Olivia Simpri-Mensah       Abdullah
                                       5. Officer Edward Hayes, Jr.                                 5. Young Sun Kim          4. Officer Derek Coppes
                                       6. Officer Villegas                                          6. Kia Green              5. Officer Edward Hayes, Jr.
                                       7. Officer Desadier                                          7. Amanda North-Shea      6. Officer Villegas
                                       8. Officer Nathan Little                                     8. Carmina Feliciano      7. Officer Desadier
                                       9. Officer Charles Kavanaugh                                 9. Corina Shaw            8. Officer Nathan Little
                                       10. Erica Wuensen-Diez                                       10. Deatrice Black        9. Officer Charles
                                       11. Correct Care Solutions, Inc.                             11. Molly Weigel              Kavanaugh
                                       12. Wellpath LLC,                                            12. Dona Petrauskis       10. Erica Wuensen-Diez
                                       13. Penelope Johnson                                         13. Tifany Utke           11. Correct Care Solutions,
                                                                                                                                  Inc.
                                       14. Cindy Smith                                              14. Mohammed Ibrahim
                                                                                                                              12. Carmina Shaw
                                       15. Guadalupe Zuniga                                         15. Patricia Loparco
                                                                                                                              13. Jeffrey Saffold
                                       16. Olivia Simpri-Mensah                                     16. Sheila Corrigan
                                       17. Young Sun Kim
                                       18. Kia Green
                                       19. Amanda North-Shea
                                       20. Carmina Feliciano
                                       21. Carmina Shaw
                                       22. Corina Shaw
                                       23. Deatrice Black
                                       24. Molly Weigel
                                       25. Dona Petrauskis
                                       26. Tiffany Utke
                                       27. Mohammed Ibrahim
                                       28. Patricia Loparco
                                       29. Sheila Corrigan
                                       30. Jeffrey Saffold




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                                                     Defendants                                                  Non-Debtor Defendants
                                                                                                                                         Other Defendants Stay is
        Case Name & No.                         (Including Previously             Automatic Stay Applies         Second Stay Extension
                                                                                                                                              Modified For
                                                      Dismissed)                                                   Order Applies To
Johnston et al. v. County of               1.  County of Ventura                 1.   Wellpath Management   1.     Leah James            1.   County of Ventura
Ventura, et al., 2:23-cv-05902 (C.D.       2.  Ventura County Sheriff’s               Inc.,                 2.     John Riggs, MD        2.   Ventura County Sheriff’s
Cal.).                                         Office                            2.   Wellpath LLC                                            Office
                                                                                                            3.     Sylvia Meza
                                           3. Sheriff Bill Ayub                                                                          3.   Sheriff Bill Ayub
                                                                                                            4.     Griselda Beauvais
                                           4. Wellpath Management Inc.,                                                                  4.   Commander Mike
                                                                                                            5.     Jennifer Alvarez
                                                                                                                                              Hartmann,
                                           5. Wellpath LLC,                                                 6.     Jessica Megler
                                                                                                                                         5.   Deputy Spencer Iwansky,
                                           6. Commander Mike Hartmann,
                                                                                                                                         6.   Deputy John Ennis
                                           7. Deputy Spencer Iwansky,
                                           8. Deputy John Ennis
                                           9. Health Services Administrator
                                               Leah James, R.N.
                                           10. John Riggs, M.D.
                                           11. Sylvia Meza, R.N.
                                           12. Griselda Beauvais, R.N.,
                                           13. Jennifer Alvarez, R.N.
                                           14. Jessica Melger, LVN
                                           15. Does 1 through 10
J.S. et al. v. County of Fresno et al.,    1.   County of Fresno                 1.   Wellpath, LLC         1.    Jessica Martinez       1.   County of Fresno
Case No. :23-cv-01070-NODJ-EPG             2.   Fresno County Sheriff’s Office                                                           2.   Fresno County Sheriff’s
(N.D. Cal.).                                    Employees Does 1-30                                                                           Office Employees Does 1-
                                                                                                                                              30
                                           3.   Wellpath LLC
                                           4.   Jessica Martinez, LMFT
                                           5.   Does 33-50
                                           6.   Does 51-70




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                                               Defendants                                         Non-Debtor Defendants
                                                                                                                             Other Defendants Stay is
       Case Name & No.                    (Including Previously         Automatic Stay Applies    Second Stay Extension
                                                                                                                                  Modified For
                                                Dismissed)                                          Order Applies To
K.C. et al. v. Alameda County, et    1. County of Alameda              1.   Wellpath, LLC        1. Kerry-Ann Kelly, M.D.    1. County of Alameda
al., 4:22-cv-01817-DMR (N.D.         2. Gregory J. Ahern                                         2. Janet Rubinson           2. Gregory J. Ahern
Cal.).                               3. Karyn L. Tribble                                         3. Maria Magat, MD          3. Karyn L. Tribble
                                     4. Rinata Wagle, M.D.                                       4. Szilvia Molitorisz, MD   4. Rinata Wagle, M.D.
                                     5. Zazi Morsell, R.N.                                       5. Gabriele Quaglia         5. Zazi Morsell, R.N.
                                     6. Jennifer L. Sells                                        6. Evelyn Hirsch            6. Jennifer L. Sells
                                     7. Marc R. Solopow                                          7. Stella Lewis             7. Marc R. Solopow
                                     8. Leslie A. Gerbacio,                                      8. Rajbinder Mand           8. Leslie A. Gerbacio,
                                     9. Prentice J. Howard                                       9. Felicidad C. Ramilo      9. Prentice J. Howard
                                     10. Reginal D. Aaron                                        10. Cela Barron             10. Reginal D. Aaron
                                     11. Ruben Pola                                              11. Harvin Ferrer           11. Ruben Pola
                                     12. Napoleon M. Terrell                                     12. Rosalyn Williams        12. Napoleon M. Terrell
                                     13. Wellpath, Llc                                           13. Chisa Earl
                                     14. Kerry-Ann Kelly, M.D.,                                  14. Hector Luz
                                     15. Janet Rubinson                                          15. Harpeet K. Sidhu
                                     16. Maria Magat, M.D.                                       16. Jharana Shreesh
                                     17. Szilvia Molitorisz, M.D.                                17. H. Singh
                                     18. Gabriele Quaglia, R.N.,                                 18. Michell Tadeo
                                     19. Evelyn Hirsch, R.N.;
                                     20. Stella Lewis, R.N.
                                     21. Rajbinder Mand, L.V.N.
                                     22. Felicidad C. Ramilo, L.V.N.
                                     23. Cela Barron, R.N.
                                     24. Harvin Ferrer, R.N.
                                     25. Rosalyn Williams, L.V.N.
                                     26. Chisa Earl, L.V.N.
                                     27. Hector Luz, R.N.
                                     28. Harpreet K. Sidhu, L.V.N.
                                     29. Jharana Shreesh, R.N.
                                     30. H. Singh, R.N.
                                     31. Michell Tadeo, L.V.N.
                                     32. Does 1-30




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                                                 Defendants                                    Non-Debtor Defendants
                                                                                                                       Other Defendants Stay is
       Case Name & No.                      (Including Previously    Automatic Stay Applies    Second Stay Extension
                                                                                                                            Modified For
                                                  Dismissed)                                     Order Applies To
Laurel v. County of Alameda, et al.,    1. County of Alameda        1.   Wellpath, LLC        1. Asaad Traina, MD      1.   County of Alameda
Case No. 3:24-cv-04427 (N.D.            2. Yesenia Sanchez                                    2. Adiam Haile, RN       2.   Yesenia Sanchez
Cal.).                                                                                        3. Shelby Moore, RN
                                        3. Wellpath, LLC
                                                                                              4. Homayun Saleh, PA
                                        4. Asaad Traina, M.D.                                 5. Laila Karim, RN
                                        5. Adiam Haile, R.N.                                  6. K. Brown, RN
                                        6. Shelby Moore, R.N.
                                        7. Homayun Saleh, P.A.
                                        8. Laila Karim, R.N.
                                        9. K. Brown, R.N.
                                        10. Does 1-30




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                                                Defendants                                               Non-Debtor Defendants
                                                                                                                                      Other Defendants Stay is
       Case Name & No.                     (Including Previously           Automatic Stay Applies        Second Stay Extension
                                                                                                                                           Modified For
                                                 Dismissed)                                                Order Applies To
Mohrbacher, et al. v. Alameda         1.  Alameda County Sheriff’s                                  1.     California Forensic        1.  Alameda County Sheriff’s
County Sheriff’s Office, et al.,          Office                                                           Medical Group, its             Office
3:18-cv-00050-JD (N.D. Cal.).         2. Gregory J. Ahern                                                  employees and              2. Gregory J. Ahern
                                      3. Brett M. Keteles                                                  subcontractors, and Rick   3. Brett M. Keteles
                                                                                                           & Ruth Roes Nos. 1-50      4. Tom Madigan,
                                      4. Tom Madigan,
                                                                                                                                      5. T. Pope
                                      5. T. Pope                                                                                      6. T. Russell
                                      6. T. Russell                                                                                   7. D. Skoldqvist
                                      7. D. Skoldqvist                                                                                8. Lt. Hattaway
                                      8. Lt. Hattaway                                                                                 9. Sgt. Calagari
                                      9. Sgt. Calagari                                                                                10. Deputy Divine (#512)
                                                                                                                                      11. Deputy Debra Farmanian
                                      10. Deputy Divine (#512)                                                                        12. Deputy Weatherbee
                                      11. Deputy Debra Farmanian                                                                          (#238)
                                      12. Deputy Weatherbee (#238)                                                                    13. Deputy Tania Pope
                                      13. Deputy Tania Pope                                                                           14. Deputy Winstead
                                      14. Deputy Winstead                                                                             15. Deputy Caine
                                      15. Deputy Caine                                                                                16. Alameda County
                                                                                                                                      17. John & Jane Does, Nos. 1
                                      16. Alameda County                                                                                  – 50
                                      17. John & Jane Does, Nos. 1 – 50                                                               18. Aramark Correctional
                                      18. California Forensic Medical                                                                     Services, LLC, its
                                          Group, its employees and                                                                        employees and sub-
                                          subcontractors, and Rick &                                                                      contractors, and Rick and
                                          Ruth Roes Nos. 1-50                                                                             Ruth Roes Nos. 1-50
                                      19. Aramark Correctional
                                          Services, LLC, its employees
                                          and sub-contractors, and Rick
                                          and Ruth Roes Nos. Nos. 1-50
Moone v. Board of County              1.   Board of County Comm’rs of     1.   Wellpath, LLC        1.    Susan Long                  1.   Board of County
Commissioners of the County of             the County of San Juan                                                                          Commissioners of The
San Juan et al., Case No. 1:21-cv-    2.   Daniel Webb                                                                                     County of San Juan
01130 (D. N.M.).                                                                                                                      2.   Daniel Webb
                                      3.   Thomas Wilson
                                                                                                                                      3.   Thomas Wilson
                                      4.   Jorge Rodriguez
                                                                                                                                      4.   Jorge Rodriguez
                                      5.   Bryan Banyacya
                                                                                                                                      5.   Bryan Banyacya
                                      6.   Wellpath, LLC
                                      7.   Susan Long


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                                                Defendants                                               Non-Debtor Defendants
                                                                                                                                 Other Defendants Stay is
       Case Name & No.                     (Including Previously           Automatic Stay Applies        Second Stay Extension
                                                                                                                                      Modified For
                                                 Dismissed)                                                Order Applies To
O’Neil v. Las Vegas Metropolitan      1.  Las Vegas Metropolitan Police   1.   Wellpath, LLC                                     1.   Las Vegas Metropolitan
Police Department et al., Case No.        Department                                                                                  Police Department
2:22-cv-00474-ART-NJK (D. Nev.)       2. County of Clark                                                                         2.   County of Clark
                                      3. Clark County Detention Center                                                           3.   Clark County Detention
                                                                                                                                      Center
                                      4. Sheriff Joe Lombardo,
                                                                                                                                 4.   Sheriff Joe Lombardo,
                                      5. Wellpath, LLC                                                                           5.   Doe Officers 1 through 10
                                      6. Doe Nurse Coco
                                      7. Doe Officers 1 through 10,
                                      8. Doe Nurses 1 through 10,
                                      9. Does 1 through 10
                                      10. Roe Corporations 11 through
                                          20;
                                      11. ABC Limited Liability
                                          Companies 21 through 30
Ontiveros v. Bd. of Cnty. Comm'rs     1.   Board of County                1.   Wellpath, LLC         1.    Mya Donaldson         1.   Board of County
of San Juan, et al., Case No. D-           Commissioners of the County                                                                Commissioners of the
1116-CV-2023-01315 (11th Judicial          of San Juan                                                                                County of San Juan
District Court for N.M.).             2.   John Does 1-5
                                      3.   Wellpath, LLC
                                      4.   Mya Donaldson



Polachek v Luzerne County et al.,     1. Luzerne County                   1.   Wellpath, LLC        1.    Elizabeth Anselm       1.   Luzerne County
Case No. 23-cv-01545 (M.D.            2. Mark Rockovich                                                                          2.   Mark Rockovich
Penn.).                               3. Wellpath, LLC                                                                           3.   Tamra J. Roper
                                      4. Tamra J. Roper                                                                          4.   Joell Petrovich
                                      5. Joell Petrovich                                                                         5.   Mike Chudoba
                                      6. Mike Chudoba                                                                            6.   Kelsey Chambers
                                      7. Kelsey Chambers                                                                         7.   Jodi Hall
                                      8. Jodi Hall                                                                               8.   Katie Hermanoski
                                      9. Katie Hermanoski                                                                        9.   Heather Wilson
                                      10. Heather Wilson
                                      11. Elizabeth Anselm


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                                                Defendants                                      Non-Debtor Defendants
                                                                                                                         Other Defendants Stay is
        Case Name & No.                    (Including Previously      Automatic Stay Applies    Second Stay Extension
                                                                                                                              Modified For
                                                 Dismissed)                                       Order Applies To
Pugh v. Wellpath, et al., 3:23-cv-    1. Wellpath, LLC               1.   Wellpath, LLC        1.   Dinesh Nagar, MD     1.   County of Solano
03677-CRB (N.D. Cal.).                2. Dinesh Nagar, MD                                      2.   John Maike, MFT      2.   Sheriff Thomas A. Ferrara
                                      3. Don Purcell, MD                                       3.   Jordan Alarcon, RN   3.   Sgt. Joshua Esquibel
                                      4. John Maike, MFT                                                                 4.   Officer Raymond
                                                                                                                              Johnson,
                                      5. Jordan Alarcon, RN
                                                                                                                         5.   Officer Ricky Perez
                                      6. County of Solano
                                                                                                                         6.   Officer Roberto Valdez
                                      7. Sheriff Thomas A. Ferrara
                                      8. Sgt. Joshua Esquibel
                                      9. Officer Raymond Johnson,
                                      10. Officer Ricky Perez
                                      11. Officer Roberto Valdez
                                      12. Does 5–50
Reynolds et al. v. County of          1.   County of Madera          1.   Wellpath, LLC                                  1    County of Madera
Madera et al., Case No. 1:23-cv-      2.   Does 1-25                                                                     2.   Does 1-25
00538 (E.D. Cal.).                    3.   Wellpath, LLC                                                                 3.   Jennifer Lorin Johnson
                                                                                                                              (Nominal Defendant)
                                      4.   Jennifer Lorin Johnson
                                           (Nominal Defendant)
                                      5.   Does 26-50
Roberts et al. v. Wellpath et al.,    1.   Wellpath, LLC             1.   Wellpath, LLC        1. Dinesh Nagar, MD       1.   Donald Purcell, M.D.
Case No. 3:23-cv-03662 (N.D.          2.   Dinesh Nagar, M.D.                                  2. Erin Estes, LPN        2.   County of Solano
Cal.).                                3.   Donald Purcell, M.D.                                3. John Maike, MFT        3.   Jonathan Benton
                                      4.   Erin Estes, L.P.N.                                                            4.   Karina Wilson
                                      5.   John Maike, M.F.T.
                                      6.   County of Solano
                                      7.   Jonathan Benton
                                      8.   Karina Wilson
                                      9.   Does 1-70




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                                                    Defendants                                             Non-Debtor Defendants
                                                                                                                                     Other Defendants Stay is
        Case Name & No.                        (Including Previously           Automatic Stay Applies      Second Stay Extension
                                                                                                                                          Modified For
                                                     Dismissed)                                              Order Applies To
Rodriguez-Gonzalez et al. v.              1. County of Santa Barbara          1.   Wellpath, LLC          1.   California Forensic   1.   County of Santa Barbara
County of Santa Barbara et al.,           2. Shawn Lammer                     2.   Wellpath Management,        Medical Group, Inc.   2.   Shawn Lammer
2:24-cv-04685-ODW-E (C.D.                 3. Deputy John Hartly Freedman           Inc.                   2.   Jayna Liford          3.   Deputy John Hartly
Cal.).                                                                                                    3.   Kathleen McElroy           Freedman
                                          4. Cottage Health System
                                                                                                          4.   Hanna Fordahl         4.   Cottage Health System
                                          5. Santa Barbara Cottage Hospital
                                                                                                          5.   Caleb Tammar          5.   Santa Barbara Cottage
                                          6. Goleta Valley Cottage Hospital
                                                                                                                                          Hospital
                                          7. Brett Wilson, M.D.                                           6.   Wellpath Inc.
                                                                                                                                     6.   Goleta Valley Cottage
                                          8. Wellpath Inc.                                                                                Hospital
                                          9. Wellpath Management, Inc.                                                               7.   Brett Wilson, M.D.
                                          10. Wellpath, LLC
                                          11. California Forensic Medical
                                              Group, Inc.
                                          12. Jayna Liford
                                          13. Kathleen McElroy
                                          14. Hanna Fordahl
                                          15. Caleb Tammar
Smith et al. v. County of Santa           1.   County of Santa Cruz           1.   Wellpath, LLC          1.   California Forensic   1.   County of Santa Cruz
Cruz, et al., Case No. 5:21-cv-           2.   Sheriff James Hart                                              Medical Group         2.   Sheriff James Hart
00421 (N.D. Cal.) (Tamario Smith).                                                                                                   3.   Gerald Lazar, MD
                                          3.   California Forensic Medical
                                                                                                                                     4.   Does 4-50
                                               Group
                                          4.   Wellpath, LLC
                                          5.   Gerald Lazar, M.D.
                                          6.   Does 4-50
Smith et al. v. Bains et al., Case No.    1. Stacey Bains                     1.   Wellpath, LLC          2.   Jeronia Bowden        1.   Stacey Bains
24-cv-02102-TWT (N.D. Ga.)                2. Kara Padgett                                                 3.   Tiarra Carter         2.   Kara Padgett
(Henrietta Smith).                        3. Amanda Brown                                                 4.   Caryn Forbes          3.   Amanda Brown
                                          4. Stacey Kelly                                                                            4.   Stacey Kelly
                                          5. Octavia Keitt                                                                           5.   Octavia Keitt
                                          6. Daniele Cathey                                                                          6.   Daniele Cathey
                                          7. Jeronia Bowden
                                          8. Tiarra Carter
                                          9. Caryn Forbes
                                          10. Wellpath, LLC


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                                                   Defendants                                           Non-Debtor Defendants
                                                                                                                                   Other Defendants Stay is
       Case Name & No.                        (Including Previously           Automatic Stay Applies    Second Stay Extension
                                                                                                                                        Modified For
                                                    Dismissed)                                            Order Applies To
Smith v. Las Vegas Metropolitan          1.  Las Vegas Metropolitan Police   1.   Wellpath, LLC        1.  Rachel Clark, RN        1.   Las Vegas Metropolitan
Police Department et al., Case No.           Department                                                2.  Tanja Wasielewski, RN        Police Department
23-cv-00092 (D. Nev.) (Mary              2. Wellpath, LLC                                                                          2.   Corrections Officer
                                                                                                       3.  Geneva Bessie, RN
Smith).                                                                                                                                 Vanessa Mitchell
                                         3. RN Rachel Clark                                            4.  Sandra Celis, LCSW      3.   Corrections Officer
                                         4. RN Tanja Wasielewski                                       5.  Meleka St. John,             Don’te Mitchell
                                         5. RN Geneva Bessie                                               MA/LNA                  2    Corrections Officer
                                         6. LCSW Sandra Celis                                          6. Stephanie Estala, RN          Joshua Waldman
                                         7. MA/LNA Meleka St. John                                     7. Hugh Andrew Rosset, NP
                                         8. RN Stephanie Estala;                                       8. Shelley Ameduri, NP
                                         9. NP Hugh Andrew Rosset                                      9. Andrea Balogh, PA
                                         10. NP Shelley Ameduri                                        10. Aynur Kabota, RN
                                         11. PA Andrea Balogh
                                         12. RN Aynur Kabota
                                         13. Corrections Officer Vanessa
                                             Mitchell
                                         14. Corrections Officer Don’te
                                             Mitchell
                                         15. Corrections Officer Joshua
                                             Waldman
                                         16. Does 1-30
Yang et al. v. County of Yuba et al.,    1.   County of Yuba                 1.   Wellpath, LLC                                    1.   County of Yuba
2:23-cv-00066-TLN-JDP (E.D.              2.   Sgt. Jeffrey T. Palmer                                                               2.   Sgt. Jeffrey T. Palmer
Cal.).                                   3.   Correctional Officer Ismael                                                          3.   CO Ismael Ramos
                                              Ramos
                                         4.   Wellpath, LLC




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